19-13103-cgm          Doc 10      Filed 10/21/19 Entered 10/21/19 11:04:08        Main Document
                                               Pg 1 of 4



UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------x
In re
                                                             CASE NO. 19-13103

Maritza Acosta

                                                             CHAPTER 13
                                   Debtor.

-------------------------------------------------------x

                                      CERTIFICATE OF SERVICE

        I, Nicolas Santacruz, being duly sworn state as follows:

        1. I am over 18 years of age and not a party to this case.

        2. On October 16, 2019, I served by regular mail a copy of the Debtor’s Chapter 13 Plan
to the parties in the annexed document.

       I hereby certify that the foregoing statements made by me are true to the best of my
knowledge and belief. I am fully aware that if any of the foregoing statements are willfully false,
I am subject to punishment.


Dated: October 18, 2019
       Queens, New York
                                                                     /s/Nicolas Santacruz
                                                                     Nicolas Santacruz
                                                                     Paralegal
19-13103-cgm        Doc 10       Filed 10/21/19 Entered 10/21/19 11:04:08   Main Document
                                              Pg 2 of 4




                                       MAILING MATRIX


AMEX Department Stores
PO Box 8218
Mason, OH 45040

Barclays Bank Delaware
PO Box 8803
Wilmington, DE 19899

Cenlar
P.O. Box 77404
Trenton, NJ 08628

Citicards CBNA
PO Box 6190
Sioux Falls, SD 57117

Citimortgage, Inc.
c/o Nicole P. Femminella, Esq.
Frenkel Lambert
53 Gibson Street
Bay Shore, NY 11706

Internal Revenue Service
PO Box 7346
Centralized Insolvency Agency
Philadelpia, PA 19101-7346

JPMCB Card Services
PO Box 15369
Wilmington, DE 19850

Lorraine C. Corsa, Esq.
80 Westchester Square
Bronx, NY 10461

NYC Dept. of Finance
66 John St.
Room 104
New York, NY 10038

NYC Water Board
Andrew Rettig
59-17 Junction Blvd., 13th Flr
Elmhurst, NY 11373
19-13103-cgm      Doc 10   Filed 10/21/19 Entered 10/21/19 11:04:08   Main Document
                                        Pg 3 of 4



NYS Dept of Tax And Finance
Bankruptcy Section
PO Box 5300
Albany, NY 12205-0300

Specialized Loan Svcg.
PO Box 266005
Littleton, CO 80163
19-13103-cgm   Doc 10   Filed 10/21/19 Entered 10/21/19 11:04:08   Main Document
                                     Pg 4 of 4
